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AO 245B (Rev 09/19) Judgment ina Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.

AARON MOSTOFSKY Case Number: 21CR138-JEB

USM Number: AARON MOSTOFSKY

Nicholas Smith

Defendant's Attorney

ee a eae

THE DEFENDANT:
Vi pleaded guilty to count(s) —_1gs, 4ss, and 5ss of the Second Superseding Indictment filed on 10/10/2021.

CJ pleaded nolo contendere to count(s)
which was accepted by the court.

CJ was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count

18 USC § 231(a)(3) Civil Disorder 1/6/2021 iss

18 USC § 641 Theft of Government Property 1/6/2021 4ss

18 USC § 1752(a)(1) Entering and Remaining in a Restricted Building or Grounds _— 1/6/2021 5s5
The defendant is sentenced as provided in pages 2 through 8 __ of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

(J The defendant has been found not guilty on count(s)

Mi Count(s) 1-8, 1s-8s, 2ss, 3ss, 6-8ss _ 0 is M are dismissed on the motion of the United States.

,,_ It is ordered that the defendant must notify the United States attorney for this district within 30 os ofany change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid? If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes i economic circumstances.

5/6/2022

Date of Imposition of Judgment

  

 

Signature of Judge

James E. Boasberg, U.S. District Court Judge

 

Name and Title of Judge

Sefer

Date
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Sheet 1A

 

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DEFENDANT: AARON MOSTOFSKY
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ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
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AO 245B (Rev. 09/19) Judgment in Criminal Case
Sheet 2 — Imprisonment

 

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DEFENDANT: AARON MOSTOFSKY ,
CASE NUMBER: 21CR138-JEB

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of: ,
eight (8) months on counts 1ss,4ss, and Sss to run concurrent.

W) The court makes the following recommendations to the Bureau of Prisons:
Otisville FCI- Otisville, New York

0 The defendant is remanded to the custody of the United States Marshal.

©) The defendant shall surrender to the United States Marshal for this district:
Oat O am CO pm. on

C1 as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

0 before 2 p.m. on

 

0) $as notified by the United States Marshal.

as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
ao. With a certified copy of this judgment.
“UNITED STATES MARSHAT.
By

 

DEPUTY UNITED STATES MARSHAL
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AO 2453 (Rev. 09/19) Judgment in a Criminal Case
Sheet 2A — Imprisonment

DEFENDANT: AARON MOSTOFSKY
CASE NUMBER: 21CR138-JEB

ADDITIONAL IMPRISONMENT TERMS
Defendant may Self Surrender on of'after June 5, 2022.

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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

DEFENDANT: AARON MOSTOFSKY
CASE NUMBER: 21CR138-JEB

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SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

twelve (12) months on counts 1ss,4ss, and 5ss to run concurrent.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

C) The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check applicable)
4. M4 You must make restitution in accordance with 18 U.S. C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
5. Wi You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
© You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seg.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. O You must participate in an approved program for domestic violence. (check if applicable)

whe

You must comply with the standard conditions that have been adopted by this court as weil as with any other conditions on the attached
page.
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AO 245B (Rev, 09/19) Judgment in a Criminal Case

DEFENDANT: AARON MOSTOFSKY

Sheet 3A — Supervised Release

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CASE NUMBER: 21CR138-JEB

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.

hw

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You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getling the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision,

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature

Date
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AO 245B (Rev. 09/19} Judgment in a Criminal Case
Sheet 3D — Supervised Release

DEFENDANT: AARON MOSTOFSKY
CASE NUMBER: 21CR138-JEB

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SPECIAL CONDITIONS OF SUPERVISION

While on supervision, you shall abide by the following mandatory conditions, as well as the standard conditions of
supervision, which are imposed to establish the basic expectations for your conduct while on supervision. The mandatory
conditions include:

1. You must not commit another federal, state, or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
placement on supervision and at least two periodic drug tests thereafter, as determined by the court.

4. You must cooperate in the collection of ONA as directed by the probation officer.

5. You must make restitution in accordance with 18 USC §§ 3663 and 3663A or any other

statute authorizing a sentence of restitution.

You shail comply with the following special conditions:

Community Service - You must complete 200 hours of community service within 24 months. The probation officer will
supervise the participation in the program by approving the program. You must provide written verification of completed
hours to the probation officer.

Re-entry Progress Hearing - Within forty-five days of release from incarceration you will appear before the Court for a
re-entry progress hearing. The United States Probation Office in the district in which you are supervised will submit a
progress report to the court within the thirty days of the commencement of supervision: and upon receipt of the progress
report, the Court will determine if your appearance is required.

THE COURT FINDS that you do not have the ability to pay a fine and, therefore, waives imposition of a fine in this case.

Financial Payment Schedule — Having assessed the defendant's ability to pay, payment of the total criminal monetary
penalties is due as follows:

Payment in monthly installments of $100, to commence 30 days after the defendant's release from incarceration.
Restitution payments shall be made to the Clerk of the Court for the United States District Court, District of Columbia, for
disbursement to the following victim:

$2000
Architect of the Capitol Office of the Chief Financial Offi icer Attn.: Kathy Sherrill, CPA Ford House Office Building, Room
H2-205B Washington, DC 20515.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 4—Probation

 

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DEFENDANT: AARON MOSTOFSKY
CASE NUMBER: 21CR138-JEB

PROBATION

You are hereby sentenced to probation for a term of:

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
probation and at least two periodic drug tests thereafter, as determined by the court.
{1 The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check yf applicable)
You must cooperate in the collection of DNA as directed by the probation officer. check f applicable)

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.)

as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. fcheck if apphcable}

{) You must participate in an approved program for domestic violence. feheck yf applicable)

[ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.

If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.

0. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
fines, or special assessments.

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You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

 

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DEFENDANT: AARON MOSTOFSKY
CASE NUMBER: 21CR138-JEB

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 150.00 $ 2,000.00 $ S $
(0 The determination of restitution is deferred until _ . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, cach payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18/U.S.C. § 36640 , all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Architect of the Capitol $2,000.00

Office of the Chief Financial Officer

Attn.: Kathy Sherrill, CPA

Ford House Office Building,Reom H2-2058
Washington, OC 20515

TOTALS $ 2,000.00 $ 0.00

() Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Wi The court determined that the defendant does not have the ability to pay interest and it is ordered that:
Wi the interest requirement is waived forthe ( fine &%_ restitution.

(1 the interest requirement for the © > fine (2 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. / .

*** Findings for the total amount of losses are required under Chapters 109A. 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet SA — Criminal Monetary Penalties

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ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

of
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AO 245B (Rev. 09/19) Judgment ina Criminal Case
Sheet 6 — Schedule of Payments

Judgment —Page 7 of
DEFENDANT: AARON MOSTOFSKY

CASE NUMBER: 21CR138-JEB

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A &_ Lump sum paymentof$ 150.00 due immediately, balance due

O_sinot later than .or

 

 

W) inaccordancewith O C, O D, OF E,or ff Fbelow;or

B (© Payment to begin immediately (may be combined with OC, OD,or OF below); or

C © Payment in equal _ (e.g. weekly, monthly, quarterly) installments of $——_sovera period of
fe.g.. months or years), lo commence _ fe... 30 or 60 days) after the date of this judgment; or
D © Payment in equal fe.g., weekly, monthly, quarterly) installments of § ___ over a period of
_. _ (2.g., months or years}, to commence _ f¢.g.. 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (Payment during the term of supervised release will commence within _____ fe.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 

F Special instructions regarding the payment of criminal monetary penalties:

The financial obligations are immediately payable to the Clerk of the Court for the U.S. District Court, 333
Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk
of the Court of the change until such time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

O Joint and Several

Case Number . op
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
fincluding defendant nunber) Total Amount Amount if appropriate

[) The defendant shall pay the cost of prosecution.
(= The defendant shall pay the following court cost(s):

(The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
 

 

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AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 5B — Criminal Monetary Penalties

 

DEFENDANT: AARON MOSTOFSKY
CASE NUMBER: 21CR138-JEB

 

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ADDITIONAL RESTITUTION PAYEES

Name of Payee

* Findings for the total amount of losses are r
or after September 13, 1994, but before April 23,

Priority or
Total Loss* Restitution Ordered Percentage

quired under Chapters LO9A, 110, 110A, and 113A of Title 18 for offenses committed on
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AO 245B (Rev. 09/19) Judgment ina Criminal Case

Shect 7 — Denial of Federal Benefits .
Judgment— Page 8 of 8
DEFENDANT: AARON MOSTOFSKY a

CASE NUMBER: 21CR138-JEB

 

DENIAL OF FEDERAL BENEFITS
(For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862(a)

IT IS ORDERED that the defendant shall be:

C) ineligible for all federal benefits for a period of

ineligible for the following federal benefits for a period of
(specify benefit(s))

OR

(1 Having determined that this is the defendant's third or subsequent conviction for distribution of controlled substances, IT IS
ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)
IT IS ORDERED that the defendant shall:

C] be ineligible for all federal benefits for a period of

C1 be ineligible for the following federal benefits for a period of

 

(specify benefit(s))

0 successfully complete a drug testing and treatment program.
perform community service, as specified in the probation and supervised release portion of this judgment.

Having determined that this is the defendant's second or subsequent conviction for possession of a controlled substance, IT

IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
judgment as a requirement for the reinstatement of eligibility for federal benefits.

Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health,

disability, Veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required
for eligibility. The clerk of court is responsible for sending a copy of this page and the first page of this judgment to:

U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
